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                                     UNITED STATES DISTRICT COURT

                                   NORTHERN DISTRICT OF CALIFORNIA

                                           CRIMINAL MINUTES

 Date: October 6, 2020               Time: 10:05-12:20 pm                 Judge: Edward J. Davila
                                     Total Time: 2 Hrs. 15 Mins.
 Case No.: 18-cr-00258-EJD- Case Name: UNITED STATES v. Elizabeth Holmes(P)(NC), Ramesh
 1,2                                 “Sunny” Balwani(P)(NC)

Attorney for Plaintiff: Jeffrey Schenk, John Bostic, Robert Leach, Vanessa Baehr-Jones

Attorney for Defendant: Kevin Downey, Lance Wade, Amy Mason Saharia, Katherine Trefz, Andrew
Lemens, Jeffrey Coopersmith, Stephen Cazares, Amanda McDowell


  Deputy Clerk: Adriana M. Kratzmann                    Court Reporter: Irene Rodriguez

  Interpreter: N/A                                      Probation Officer: N/A


                                   PROCEEDINGS – MOTIONS HEARING
                                 Via Zoom Webinar Remotely due to COVID19

Defendants’ are present, out of custody and consent to appear via Zoom remotely due to COVID19.
Hearing held.
The Court heard oral argument as to Defendants’ Motions (Dkts. 493,496,497,498,499,500 and
Joinders). The Court took the matters under submission. Court to issue the orders.
Previous time excluded pursuant to 18 U.S.C. §3161(h)(7)(A), the Court found the ends of justice served in
granting the continuance outweighed the best interests of the public and the defendant in a speedy trial and
excluded time through 3/9/2021 the trial date. For the reasons stated on the record, time is excluded pursuant
to 18 U.S.C. §3161(h)(7)(B)(iv).

NEXT HEARING DATE: December 2, 2020 10:00 A.M. for Status Conference re trial date.




                                                                                             Adriana M. Kratzmann
 P/NP: Present, Not Present
                                                                                                 Courtroom Deputy
 C/NC: Custody, Not in Custody
                                                                                                    Original: Efiled
 I: Interpreter
                                                                                                               CC:
